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 7

 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   QUY TRUONG, an individual,             Case No.: 8:22-cv-01503
12              Plaintiff,                  COMPLAINT FOR
13        vs.
                                               (1) VIOLATION OF THE UNRUH
14   SM.KAN, INC., a California                    CIVIL RIGHTS ACT
     corporation;
15                                                 (CALIFORNIA CIVIL CODE
                Defendants.                        §§ 51, 52);
16
                                               (2) VIOLATIONS OF THE
17                                                 AMERICANS WITH
18                                                 DISABILITIES ACT OF 1990

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                                      COMPLAINT
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 1                                               I.
                                              SUMMARY
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 3           1.    This is a civil rights action by plaintiff Quy Truong (“Plaintiff”) for
 4   discrimination at the building, structure, facility, complex, property, land,
 5   development, and/or surrounding business complex located at 15347 Gale Ave., City
 6   of Industry, CA 91745 (the “Property”). Plaintiff is often in the area for dining and
 7   entertainment as he lives close to the area and enjoys the restaurant located at the
 8   Property. On this particular occasion he desired to visit the “101 Sushi Roll & Grill”
 9   restaurant located on the Property.
10           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
11   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
12   12101, et seq.) and related California statutes1 against Defendant, the tenant SM.KAN,
13   INC., a California corporation and/or owner of the Property (“Defendant”).
14                                                   II.
15                                         JURISDICTION
16           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
17   for ADA claims.
18           4.    Supplemental jurisdiction for claims brought under parallel California
19   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
20   1367.
21           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
22                                               III.
23                                              VENUE
24           6.    All actions complained of herein take place within the jurisdiction of the
25   United States District Court, Central District of California, and venue is invoked
26   pursuant to 28 U.S.C. § 1391(b), (c).
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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                                              COMPLAINT
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                                                IV.
 2
                                              PARTIES
 3
           7.       On information and belief, Plaintiff alleges that Defendant is or was at
 4
     the time of the incident, the owner, operator, lessor and/or lessee of the Property, and
 5
     consists of a person (or persons), firm, company, and/or corporation.
 6
           8.       Plaintiff suffers from spina bifida and as a result is unable to walk or
 7
     stand without the use of a wheelchair and needs a wheelchair at all times when
 8
     traveling in public. Plaintiff is “physically disabled” as defined by all applicable
 9
     California and United States laws, and a member of the public whose rights are
10
     protected by these laws. Plaintiff is a resident of Orange County, California. Plaintiff
11
     is not a high frequency litigant as that term is defined under California Code of Civil
12
     Procedure § 425.55. In the twelve (12) months prior to the filing of this lawsuit,
13
     Plaintiff filed eight (8) other accessibility complaints.
14
                                                V.
15
                                               FACTS
16
           9.       On or about January 8, 2022, Plaintiff desired to patronize the Property.
17
     On this particular visit, he desired to patronize the “101 Sushi Roll & Grill” restaurant
18
     operating at the Property. The Property is a sales or retail establishment, open to the
19
     public, which is intended for nonresidential use and whose operation affects
20
     commerce.
21
           10.      Plaintiff visited the Property and encountered barriers (both physical and
22
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
23
     enjoy the goods, services, privileges and accommodations offered at the facility. To
24
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
25
     to the following:
26

27               a. The restrooms are not properly configured for use by persons with
28                  disabilities in multiple respects, including but not limited to missing

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 1                safety grab bars that are needed to safely transfer from the wheel chair to
 2                the toilet; toilet seat dispensers and/or toilet paper rolls that are not
                  properly configured making it difficult if not impossible to reach.
 3

 4         11.    These barriers to access are listed without prejudice to Plaintiff citing
 5   additional barriers to access after inspection by Plaintiff’s access consultant, per the
 6   9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
 7   2008). These barriers prevented Plaintiff from enjoying full and equal access to the
 8   Property.
 9         12.    Plaintiff experienced difficulty, discomfort and embarrassment from the
10   accessible barriers he encountered. Although he would like to visit the Property
11   again, he continues to be deterred from visiting the Property because of the future
12   threats of injury created by these barriers. Plaintiff would return to the Property once
13   the barriers are removed. Plaintiff desires to return to the Property as he enjoys the
14   restaurant located at the Property and is often in the area and thus would like to return
15   to patronize the restaurant. Plaintiff would also return within 6 months of the barriers
16   being removed or corrected.
17         13.    On information and belief, Plaintiff alleges that Defendant knew that
18   these elements and areas of the Property were inaccessible, violate state and federal
19   law, and interfere with (or deny) access to the physically disabled. Moreover,
20   Defendant has the financial resources to remove these barriers from the Property
21   (without much difficult or expense) and make the Property accessible to the physically
22   disabled. To date, however, the Defendant refuses to remove those barriers.
23         14.    On information and belief, Plaintiff alleges that at all relevant times,
24   Defendant has possessed and enjoyed sufficient control and authority to modify the
25   Property to remove impediments to wheelchair access and to comply with the
26   Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
27   Defendant has not removed such impediments and has not modified the Property to
28   conform to accessibility standards.

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                                                VI.
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           FIRSTCAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
 3
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
 4
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
 5
                                      CODE SECTION 51(f)
 6
           15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
 7
     14 for this claim and incorporates them herein.
 8
           16.    At all times relevant to this complaint, California Civil Code § 51 has
 9
     provided that physically disabled persons are free and equal citizens of the state,
10
     regardless of disability or medical condition:
11
           All persons within the jurisdiction of this state are free and equal, and
12
           no matter what their sex, race, color, religion, ancestry, national
13
           origin, disability, or medical condition are entitled to the full and
14
           equal accommodations, advantages, facilities, privileges, or services
15
           in all business establishments of every kind whatsoever. Cal. Civ.
16
           Code § 51(b).
17
           17.     California Civil Code § 52 provides that the discrimination by Defendant
18
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
19
     discrimination provisions of §§ 51 and 52.
20
           18.    Defendant’s discrimination constitutes a separate and distinct violation of
21
     California Civil Code § 52 which provides that:
22
           Whoever denies, aids or incites a denial, or makes any discrimination
23
           or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
24
           every offense for the actual damages, and any amount that may be
25
           determined by a jury, or a court sitting without a jury, up to a
26
           maximum of three times the amount of actual damage but in no case
27
           less than four thousand dollars ($4,000) and any attorney’s fees that
28
           may be determined by the court in addition thereto, suffered by any
                                                   4
                                            COMPLAINT
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 1
           person denied the rights provided in Section 51, 51.5 or 51.6.
 2
           19.    Plaintiff continues to be deterred from visiting the Subject Property based
 3
     upon the existence of the accessible barriers. In addition to the occurrence in January
 4
     2022, Plaintiff is entitled to $4,000.00 in statutory damages for each additional
 5
     occurrence of discrimination under California Civil Code § 52.
 6
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
 7
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
 8
     thus independently justifying an award of damages and injunctive relief pursuant to
 9
     California law. Per § 51(f), “[a] violation of the right of any individual under the
10
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
11
     section.”
12
           21.    The actions and omissions of Defendant as herein alleged constitute a
13
     denial of access to and use of the described public facilities by physically disabled
14
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
15
     result of Defendant’s action and omissions Defendant has discriminated against
16
     Plaintiff in a violation of Civil Code §§ 51 and 51.
17
                                              VII.
18
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
19
                  DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
20
           22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
21
     21 for this claim and incorporates them herein.
22
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
23
     Congress passed “Title III – Public Accommodations and Services Operated by
24
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
25
     entities” which are considered “public accommodations” for purposes of this title,
26
     which includes any “restaurant, bar, or other sales or rental establishment serving food
27
     or drink.” § 301(7)(B).
28
           24.    The ADA states that “[n]o individual shall be discriminated against on
                                                 5
                                           COMPLAINT
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 1
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
 2
     privileges, advantages, or accommodations of any place of public accommodation by
 3
     any person who owns, leases, or leases to, or operates a place of public
 4
     accommodation.” 42 U.S.C. § 12182.
 5
           25.    The acts and omissions of Defendant set forth herein were in violation of
 6
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
 7
     Part 36 et seq.
 8
           26.    On information and belief, Plaintiff alleges that the Property was
 9
     constructed after January 26, 1992.
10
           27.    On information and belief, Plaintiff alleges that the removal of each of
11
     the barriers complained of by Plaintiff as hereinabove alleged, were at all times herein
12
     mentioned "readily achievable" under the standards §§ 30 l and 302 of the ADA. As
13
     noted hereinabove, removal of each and every one of the architectural barriers
14
     complained of herein were also required under California law. Further, on information
15
     and belief, alterations, structural repairs or additions since January 26, 1993 have also
16
     independently triggered requirements for removal of barriers to access for disabled
17
     persons per § 303 of the ADA. In the event that removal of any barrier is found to be
18
     "not readily achievable," Defendant still violated the ADA, per§ 302(b )(2)(A)(v) by
19
     failing to provide all goods, services, privileges, advantages and accommodations
20
     through alternative methods that were readily achievable.
21
           28.    On information and belief, as of the date of Plaintiff’s encounter at the
22
     Property and as of the filing of this Complaint, the Defendant has denied and continue
23
     to deny full and equal access to Plaintiff and to other disabled persons, including
24
     wheelchair users, in other respects, which violate plaintiff's rights to full and equal
25
     access and which discriminate against Plaintiff on the basis of his disability, thus
26
     wrongfully denying to plaintiff the full and equal enjoyment of the goods, services,
27
     facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303
28
     of the ADA. 42 USC§§ 12182 and 12183.
                                                  6
                                           COMPLAINT
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           29.     On information and belief, Defendant has continued to violate the law
 2
     and deny the rights of Plaintiff and other disabled persons to access this public
 3
     accommodation since on or before Plaintiff's encounters, as previously noted.
 4
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
 5
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
 6
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
 7
     in violation of the ADA or has reasonable grounds for believing that he is about to be
 8
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
 9
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
10
     make such facilities readily accessible to and usable by individuals with disabilities to
11
     the extent required by this title."
12
           30.     Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
13
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
14
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
15
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
16
     to discrimination on the basis of disability in violation of Title III and who has
17
     reasonable grounds for believing he will be subjected to such discrimination each time
18
     that he may attempt to use the property and premises.
19
                                              PRAYER
20
           WHEREFORE, Plaintiff prays that this court award damages and provide relief
21
     as follows:
22
        1. Issue a preliminary and permanent injunction directing Defendant as current
23
     owners, operators, lessors, and/or lessees of the Property to modify the above
24
     described Property and related facilities so that each provides full and equal access to
25
     all persons, including but not limited to persons with physical disabilities who use
26
     wheelchairs, and issue a preliminary and permanent injunction directing Defendant to
27
     provide and maintain facilities usable by Plaintiff and similarly situated persons with
28

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                                            COMPLAINT
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     disabilities, and which provide full and equal access, as required by law, including
 2
     appropriate changes in policy;
 3
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
 4
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
 5
     inaccessible public facilities as complained of herein no longer occur, and can not
 6
     recur;
 7
        3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
 8
     deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
 9
     in this case, all according to proof;
10
        4. Award to Plaintiff all appropriate damages, including but not limited to
11
     statutory damages, general damages and treble damages in amounts within the
12
     jurisdiction of this Court, all according to proof;
13
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
14
     costs of this proceeding as provided by law;
15
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
16
     3291;
17
        7. Grant such other and further relief as this Court may deem just and proper.
18

19

20                                           ASCENSION LAW GROUP, PC

21      DATE: August 11, 2022

22                                                      /s/Pamela Tsao

23                                           Pamela Tsao, attorney for Plaintiff

24                                                      QUY TRUONG

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                                              COMPLAINT
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 1                            DEMAND FOR JURY TRIAL
 2
          Plaintiff hereby demands a jury for all claims for which a jury is permitted.
 3

 4

 5                                      ASCENSION LAW GROUP, PC

 6      DATE: August 11, 2022

 7                                            _____/s/ Pamela Tsao

 8                                     Pamela Tsao, attorney for Plaintiff

 9                                                 QUY TRUONG

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                                         COMPLAINT
